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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                            Case No. 20-82102-Civ-MATTHEWMAN


  HYUNDAI MOTOR AMERICA
  CORPORATION,                                                                   SW

         Plaintiff,
                                                                      Jan 19, 2023
  vs.
                                                                                    WPB
  EFN WEST PALM MOTOR SALES, LLC,

         Defendant.
   ___________________________/

                                     FINAL JUDGMENT

         Pursuant to Rules 54 and 58 of the Federal Rules of Civil Procedure, final judgment is

  entered as follows.

         With respect to Counts I, II, III, and V of the Second Amended Complaint [DE 144] and

  based on the jury’s Verdict [DE 532], Final Judgment is hereby entered in favor of Defendants

  EFN West Palm Motor Sales, LLC, Gene Khaytin, Ernesto Revuelta, Edward W. Napleton,

  Geovanny Pelayo, and Jorge Ruiz, and against Plaintiff Hyundai Motor America Corporation.

  Plaintiff Hyundai Motor America Corporation shall take nothing from Defendants as to Counts I,

  II, III, and V. Further, Plaintiff abandoned Count IV of the Second Amended Complaint at trial

  and, therefore, Count IV is dismissed with prejudice. Plaintiff Hyundai Motor America

  Corporation shall take nothing from Defendants as to Count IV.

         With respect to Counterclaims I, II, and III of the Amended Counterclaims and Third-Party

  Complaint [DE 318] and based on the jury’s Verdict [DE 532], Final Judgment is hereby entered

  in favor of Counter-Defendant Hyundai Motor America Corporation and against Counter-Plaintiff
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  EFN West Palm Motor Sales, LLC. Counter-Plaintiff EFN West Palm Motor Sales, LLC, shall

  take nothing from Counter-Defendant Hyundai Motor America Corporation as to Counterclaims

  I, II, and III.

           DONE and ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida,

  this 19th day of January 2023.




                                                        WILLIAM MATTHEWMAN
                                                        United States Magistrate Judge
